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                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION

     THE GOODYEAR TIRE &RUBBER                       )
     COMPANY,                                        )


                    Plaintiff,                       ) Case No. 2:20-cv-06347-JLG-EPD

            v.                                      )
                                                         PLAINTIFF'S RULE 26(a)(1) INITIAL
                                                         DISCLOSURES AND 26(a)(2) EXPERT
                                                         DISCLOSURES
     CONAGRA FOODS, INC., et al.,                   )


                    Defendants.                     )

                      PLAINTIFF'S RULE 26(a) INITIAL DISCLOSURES AND
                       PLAINTIFF'S RULE 26(a~2) EXPERT DISCLOSURES

            Plaintiff The Goodyear Tire &Rubber Company ("Plaintiff' or "Goodyear"), by and

     through the undersigned counsel of record, submits these Rule 26(a) Initial Disclosures and Rule

     26(a)(2) Expert Disclosures.

                                      Rule 26(a)(1) Initial Disclosures

            For its Rule 26(a)(1) Initial Disclosures, Plaintiff states the following:

            Rzcle 26(a) (1) (A) (i): Tire name and, if known, the address and telephone ~~zcmbe~~
            of each ijldividzcal likely to have discoverable information —along with the
            subjects of that info~~mution —that the disclosing party may zcse to sicpport its
            claims oj~ defej~ses, unless the icse would be solely foY impeachment.

            1.      The following Central Soya Co., Inc. ("Central Soya") former employee may

     have discoverable infor-~nation about waste streams delivered to the Site and/or operations: Jerri

     Thibaut. The last known contact information in Plaintiff's possession for such employee is as

     follows:
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                          Bunge North America, Inc.
                          1391 Timberlake Manor Pkwy
                          Chesterfield, MO 63017

             2.     The following Chemical Waste Management, Inc. ("Chemical Waste") former

     employees may have been involved in response activities conducted at the Site by Chemical

     Waste and its subcontractors, and may have discoverable information about such response

     activities and associated response costs: Bill Magee; Suzy McCoy; Patrick T. O'Shea, and

     Lauren Paisley. This entity is a Jackson County Landfill consultant and/or subcontractor, and all

     communications must be directed to Plaintiff's counsel of record.

            3.      The following Davis Trucking ("Davis") former employee may have discoverable

     information about waste streams delivered to the Site and/or operations: Bob Lovett. The last

     known contact information in Plaintiff's possession for such employee is as follows:

                          Davis Trucking
                          1134 Schwilk Rd.
                          Lancaster, OH 43130

            4.      The following Clean Harbors Environmental Services, Inc. ("Clean Harbors")

     fonner employee may have been involved in response activities conducted at the Site by Clean

     Harbors and its subcontractors, and may have discoverable information about such response

     activities and associated response costs: William Butcher. This entity is a Jackson County

     Landfill consultant and/or subcontractor, and all colnlnunications must be directed to Plaintiff's

     counsel of record.

            5.      The following ENSCO, Inc. ("ENSCO") current or former employees may have

     discoverable information about waste streams delivered to the Site and/or operations: John T.

    Corcia; and Kiln Hendricks. The last known contact information in Plaintiff's possession for

    such employees is as follows:



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                        ENSCO, Inc.
                        333 Executive Court
                        Little Rock, AR 72205

            6.      The following Federal Mogul Corp. ("Federal Mogul") current or former

     employees inay have discoverable information about waste streams delivered to the Site and/or

     operations: Mark T. Bauer; Kevin Cassidy; Kirk MacLennen; Brett Pynonnen; and Robert

     ~1Volke. The last known contact information in Plaintiff's possession for such employees is as

     follows:

                        Federal Mogul
                        26555 Northwestern Hwy
                        Southfield, MI 48033

            7.      The following Geo-Environmental Drilling Company, Inc ("Geo-Environmental")

     current or former employee may have been involved in response activities conducted at the Site

     by Parsons Corporation ("Parsons") and its subcontractors, and may have discoverable

     information about such response activities and associated response costs: Deborah A. Weible.

     This entity is a Jackson County Landfill consultant and/or subcontractor, and all communications

     must be directed to Plaintiff's counsel of record.

            8.      The following The Goodyear Tire &Rubber Company ("Goodyear") current or

     former employees may have discoverable information about waste streams delivered to the Site

     and/or operations, and/or lnay have been involved in response activities conducted at the Site by

     Goodyear and its subcontractors, and Inay have discoverable information about such response

     activities and associated response costs: Bertram Bell; Fred C. Betzhold; Fred Bonghear; David

     L. Chapman; Frank Cich; Ronald Clark; Maureen DeSanzo; Jan Forsyth; Tiln Frosell; John

     Grosjean; Skip Haines; R. L. Hively; D. H. Ko~narolni; Gary Korinos; Stan Levenger; Dennis E.

     McGavis; Kevin O'Day; Kristin Oswick; Neal Roundtree; Donald E. Stanley; Jeffrey A.



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     Sussman; Chris Wiley; and Bill Woodward. This entity is the Plaintiff, and all colnlnunications

     must be directed at Plaintiff's counsel of record.

             9.     The following Hydro Group, Inc. ("Hydro Group") current or former employees

     may have been involved in response activities conducted at the Site by ICF Kaiser Engineers,

     Inc. ("ICF") and its subcontractors, and may have discoverable information about such response

     activities and associated response costs: Mark Knoll and Gregory B. Slone. This entity is a

     Jackson County Landfill consultant and/or subcontractor, and all communications must be

     directed to Plaintiff's counsel of record.

            10.     The following ICF current or former employees may have been involved in

     response activities conducted at the Site by ICF and its subcontractors, and may have

     discoverable information about such response activities and associated response costs: Mike

     Danciak and Ed Fahnline. This entity is a Jackson County Landfill consultant and/or

     subcontractor, and all communications must be directed to Plaintiff's counsel of record.

            11.     The following Jackson County, Ohio Board of Health ("Jackson BOH") current or

     former employees may have discoverable information about waste streams delivered to the Site

    and/or operations: J. Gordon Morrow; Charles F. Terry; and Warren Tyler. The last known

    contact information in Plaintiff's possession for such employees is as follows:

                        Jackson County, Ohio Health Department
                        200 Main St.
                        Jackson, OH 45640

            12.     The following Jackson County Lands11 ("JCL") f/k/a Jenkins Sanitary Landf 11

    former employees may have discoverable inforination about waste streams delivered to the Site

    and/or operations: Lori Baps n/k/a Lori Michaels; Mike Blackburn; Clen~s Bush; Mike Bush;

    Rodney Bush; Carl Byrd; "Junior" Byrd; James Cox; Kevin Dalton; Herbert Duhl; Ed Evans;
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     Paul Fry; Dale Groves; Charvel "Charlie" Hopper; Donald Jenkins; Jalnes Keller; Harry Kuhn;

     Marvin Landrum; Hugh Livesay; Jerry Mannering; David Paugh; Bill Pearce; Dale Rose; James

     Sands; Jerry Scarberry; Robert Shaw; Kenny Sheritt; Douglas Silnms; Dave Smalley; Jan Srnith;

     and Mark Wyant. The last known contact information in Plaintiff's possession for such

     employees is as follows:

                       Lori Baps n/k/a Lori Michaels
                       Address Unknown
                       740-418-4009

                       Mike Blackburn
                       2855 Gieke Ridge Rd.
                       Oak Hill, OH 45656

                       Cletus Bush
                       6697 S.R. 139
                       Jackson, OH 45640

                       Michael Bush
                       12996 S.R. 327
                       Wellston, OH 45 692

                       Rodney Bush
                       671 Bear Run Rd.
                       South Webster, OH 45682

                       Carl Byrd
                       Address Unknown

                       "Junior" Byrd
                       Address Unknown

                       James Cox
                       Address Unknown

                       Kevin Dalton
                       X021 Kitty ct.
                       Huber Heights, OH 45424




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                   Herbert Duhl
                   647 Sternberger Rd.
                   Jackson, OH 45640

                   Ed Evans
                   Address Unknown

                   Paul Fry
                   Address Unknown
                   740-286-3943

                   Dale Groves
                   Address Unknown

                   Charvel "Charlie" Hopper
                   2181 Kessinger School Rd.
                   Jackson, OH 45 640

                   James Keller
                   Address Unknown

                   Harry Kuhn
                   2546 Smith Bridge Rd.
                   Jackson, OH 45 640

                   Marvin Landrum
                   2003 6 S .R. 93
                   Wellston, OH 45692

                   Hugh Livesay
                   9770 Four Mile Rd.
                   Jackson, OH 45640

                   Jerry Mannering
                   Address Unknown

                   David Paugh
                   3675 Cleveland Dr.
                   Rock Springs, WY 82901

                   Bi 11 Pearce
                   Address Unknown

                   Dale Rose
                   27 Oak St.
                   Jackson, OH 45640


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                        James Sands
                        Address Unknown

                        Jerry Scarberry
                        33 6 Chillicothe St.
                        Jackson, OH 45 640

                        Robert Shaw
                        Address Unknown

                        Kenny Sheritt
                        Address Unknown

                        Douglas Sirnms
                        3 5 8 Clay Chapel Rd.
                        Gallipolis, OH 45631

                        Dave Smalley
                        Address Unknown

                        Jan Smith
                        135 N. David Ave.
                        Jackson, OH 45640

                        Mark Wyant
                        Address Unknown

            13.     The following Joyce Iron and Metal Co. ("Joyce Iron") current or former

     employees may have been involved in response activities conducted at the Site by Parsons and

     its subcontractors, and may have discoverable information about such response activities and

     associated response costs: Jerry L. Corbin. This entity is a Jackson County Landfill consultant

     and/or subcontractor, and all communications must be directed to Plaintiff's counsel of record.

            14.     The following Lancaster Glass Corporation ("Lancaster Glass") current or former

     employees may have discoverable information about waste streams delivered to the Site and/or

    operations: Bob Addington; Jiln Morgan; Bryce Sayer; and R.L. Snider, who Plaintiff believes

    can be contacted through Lancaster Glass' counsel of record in this case.
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             15.     The following Masco Cabinetry LLC ("Masco Cabinetry") current or former

     employees inay have discoverable information about waste streams delivered to the Site and/or

     operations: Robert Allen; Stanley Lemon; John Lewis; and Sarah C. Osterman, who Plaintiff

     believes can be contacted through Masco Cabinetry LLC's counsel of record in this case.

             16.     The following McCutcheon Enterprises, Inc ("McCutcheon") former employee

     may have discoverable information about waste streams delivered to the Site and/or operations:

     John J. Uskuraitis. The last known contact information in Plaintiff's possession for such

     employee is as follows:

                        McCutcheon Enterprises, Inc
                        250 Park Rd
                        Apollo, PA 15613

             17.    The following Mid-American Waste Systems, Inc. ("Mid-American Waste")

     current or former employee may have discoverable information about waste streams delivered to

     the Site and/or operations: Brian D. .Riley. The last known contact information in Plaintiff's

     possession for such employees is as follows:

                        Mid-American Waste Systems, Inc.
                        1006 Walnut St.
                        Canal Winchester, OH 43110

            18.     The following Midwest Environmental Services, Inc. ("Midwest

     Environmental") employee may have been involved in response activities conducted at the Site

     by Mid~Vest Environmental and its subcontractors, and may have discoverable information about

     such response activities and associated response costs: Tara D. Murphy. This entity is a Jackson

     County Landfill consultant and/or subcontractor, and all colnrnunications must be directed to

     Plaintiff's counsel of record.




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            19.     The following O'Brien & Gere, Inc. ("O'Brien") current or former employees

     lnay have been involved in response activities conducted at the Site by O'Brien and its

     subcontractors, and lnay have discoverable information about such response activities and

     associated response costs: Dave Farber; Al Fanell; Chase Forman; Ellen Hudson; Paul D.

     Mazurkiewicz; and Susette Prusionowski. This entity is a Jackson County Landfill consultant

     and/or subcontractor, and all communications must be directed to Plaintiff's counsel of record.

            20.     The following Ohio Department of Health ("OH Health") current or former

     employees may have discoverable information about waste streams delivered to the Site and/or

     operations: P.W. Arnold; Ivan Baker; George H. Eagle; and Kermit Mick. The last known

     contact information in Plaintiff's possession for such employees is as follows:

                       Ohio Department of Health
                       246 N. High St.
                       Columbus, OH 43215

                       Or

                       35 Chestnut St.
                       Columbus, OH 43215

            21.    The following Ohio Environmental Protection Agency ("OH EPA") current or

     foriner employees may have been involved in response activities conducted at the Site by OH

    EPA and its subcontractors, and may have discoverable information about such response

    activities and associated response costs: Sheila Abraham; David Altfater; Bill Batin; Scott

    Bergreen; Brian Blair; Rich Bonder; Carol Butler; Craig W. Butler; Janusz Byczkowski; Brenda

    Case; Mary Cavin; Timothy Christman; John Connell; Bill Darnschroder; Donald E. Day; Jeff

    DeShon; Mardi Enderle; Kevin J. Fowler; Maria Galanti; Jerri-Anne Garl; Patrick H. Go1-~nan;

    Mike Gray; Leanne Greenlee; Jiln Grow; Steve Hamlin; Angela Hardesty; Dave Hunt; Kristy

    Hunt; Dave Johe; Kelvin Jones; Ed Kitchen; David Kline; Joseph P. Koncelik; David Kral;


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     Martin Kuklis; Terri McCloskey; Marilyn McCoy-Zulnbro; Dennis Mishne; M. Mike

     McLaughlin; Mike Moschella Melissa Moser; Scott Nally; Tony Navaroli; Michael Nihiser;

     Kevin O'Hara; Christine Osborne; Emily Patchen; Brian Queen; Dan Redman; Kimberly

     Rhoads; Mark Rickrich; Jerry K. Roberts; John Rochotte; Kenneth A. Schultz; Maggie Selbe;

     Rich Shank; Kelly A. Sherman; Scott D. Shermerhorn; Marc Smith; Duane A. Snyder; Joe

     Speakman; Dusty Renee Tinsley; Dustin Tschudy; Brian Tucker; Sheree White; and Kevin

     Zumbro. The last known contact information in Plaintiff's possession for such employees is as

     follows:

                        Ohio Environmental Protection Agency
                        50 W. Town S.
                        Unit 700
                        Columbus, OH 43215

             22.    The following Ohio State Highway Patrol ("OH Highway") current or former

     employee may have discoverable information about waste streams delivered to the Site and/or

     operations: David E. Redecker. The last known contact information in Plaintiff's possession for

     such employee is as follows:

                        Ohio State Highway Patrol
                        1970 West Broad St.
                        Columbus, OH 43223

            23.     The following OSLO Industries, Inc. ("OSCO") current or former employees lnay

     have discoverable inforination about waste streams delivered to the Site and/or operations: Ron

     Bonzo; Jeff Burke; John Burke; Ryan Burke; Keith Denny; Gary E. Fischer; Hany Gulley; Sue

     Hamilton; Vern Lindernuth; Art Merlon; Randy Messer; Roger McPeek; Toln Stewart; Mike

     Wallace; and John White, who Plaintiff believes can be contacted through OSLO Industries,

     Inc.'s counsel of record in this case.




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             24.     The following Owens-Illinois, Inc. ("Owens") current or foriner employees lnay

      have discoverable inforination about waste streams delivered to the Site and/or operations: John

      Radcliffe; Susan Smith; Mark Tussing; and Susan Wiciak. The last known contact information in

     Plaintiff's possession for such employees is as follows:

                        Owens-Illinois, Inc.
                        1 Michael Owens Way
                        Perrysburg, OH 43 5 51

             25.    The following Parsons current or former employees may have been involved in

     response activities conducted at the Site by Parsons and its subcontractors, and Inay have

     discoverable information about such response activities and associated response costs: Bill

     Adams; Patrick Bough; Peter Gelman; Aaron Mackey; Elizabeth McCartney; Eric l~lysona; and

     Keith Rankin. This entity is a Jackson County Lands11 consultant and/or subcontractor, and all

     communications must be directed to Plaintiff's counsel of record.

             26.    The following R. J. Reynolds Tobacco Holding, Inc. ("R. J. Reynolds Tobacco")

     current or former employees may have discoverable information about waste streams delivered

     to the Site and/or operations: Doc Eckleburg and Albert F. Schuhardt, who Plaintiff believes can

     be contacted through R. J. Reynolds Tobacco Holding, Inc.'s counsel of record in this case.

             27.    The following Ramboll Americas Integrated Solutions, Inc. ("Ratnboll") current

     or former employee may have been involved in response activities conducted at the Site by

     Ra~~nboll and its subcontractors, and Inay have discoverable information about such response

     activities and associated response costs: Victor Warner. This entity is a Jackson County Landfill

     consultant and/or subcontractor, and all communications must be directed to Plaintiff's counsel

     of record.
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             28.    The following Rural Action f/k/a Appalachian Ohio Public Interest Campaign

      current or former employee may have discoverable information about waste streaYns delivered to

     the Site and/or operations: Marty Zinn. The last known contact information in Plaintiff's

     possession for this individual is as follows:

                        Rural Action
                        9030 Hocking Hills Dr.
                        The Plains, OH 45780

             29.    The following Sanitation Commercial Services, Inc. ("SCS") current or former

     employees may have discoverable information about waste streams delivered to the Site and/or

     operations: Tony Azar; Linda Bondurant; J. Gregory and Sally A. Fields; Mike Holdren; Mike

     Patrick; Martin S. Seltzer; Jack Tipton; and Mark Wood. The last known contact information in

     Plaintiff's possession for these individuals is as follows:

                        Sanitation Colnrnercial Services, Inc.
                        156 W. South St.
                        Jackson, OH 45 640

             30.    The following Sexton's Excavating ("Sexton") current or former employees may

     have been involved in response activities conducted at the Site by Sexton and its subcontractors,

     and may have discoverable information about such response activities and associated response

     costs: Shawn and Melissa Sexton. This entity is a Jackson County Landfill consultant and/or

     subcontractor, and all communications must be directed to Plaintiff's counsel of record.

            31.     The following The Manville Co. a/k/a Johns-Manville Corporation ("Manville")

     current or former employees Inay have discoverable information about waste streams delivered

     to the Site and/or operations: Grey Berry; Emerson Bungard; Donald Burch; Christine Burkett;

     David Burgord; Gary Buskirk; Melody Dunbar; Cathy Dyer; Dexter (Leroy) Flanary; Glen Ford;

     Larry Hill; Susan Key; Pat Klug; Mary Laughery; Judson Lewis; H. McCullough; Ron Morgan;



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      Richard Quaranta; Steve Rapp; Bruce Ray; N.L. Schilling; Robert Schoolcraft; Leroy Seymour;

      Jeff Shock; Roger Snow; Kevin W. Sprague; Janey Wigal; Jerty Williams; Jonny Woods; and

      Dave Young. The last known contact information in Plaintiff's possession for these individuals is

      as follows:

                        Johns-Manville Corporation
                        P. O. Box 5108
                        Denver, CO 80217-5108

             32.    The following Wear-Ever Aluminum Co. former employees inay have

     discoverable information about waste streams delivered to the Site and/or operations: Dr. Pat

     Atkins; William Beatty; Keith B. Burns; Gary Crouth; Edward Maziarz; James T. McMaster;

     Jess J. Schnell; Pete Swallow; James P. Young; and Christopher Zachweija. Additionally, the

     following Alcoa Corporation ("Alcoa") current or former employee may have discoverable

     information about waste streams delivered to the Site and/or operations: Peter V. Swallow. The

     last known contact information in Plaintiff's possession for such employees is as follows:

                        Alcoa Corporation
                        201 Isabella St.
                        Suite 500
                        Pittsburgh, PA 15212-5858

             33.    The following ~1Vellston Aerosol Manufacturing Co. a/k/a Wellston Aerosols

     former employees Inay have discoverable information about waste streams delivered to the Site

     and/or operations: Dan Lockard; Dan Lockard Jr. and William Kisor. The last known contact

     inforll~ation in Plaintiff's possession for such employees is as follows:

                        Wellston Aerosol Manufacturing Co. a/k/a Wellston Aerosols
                        105 West A. Street
                        Wellston, OH 45602

             34.    The following individuals currently own property (or have owned property in the

     past), which is adjacent to the Site, and lnay have discoverable infoT-~nation about Site operations:


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     Shawn, Melissa, and Gary Sexton. The last known contact infol-~nation in Plaintiff's possession

     for these individuals is as follows:

                          Shawn, Melissa, and Gary Sexton
                          2336 Smith Bridge Rd
                          Jackson, OH 45640-8843

             35.     The following persons are identified on Jackson County Landfill Site Records

     ("Site Records") as affiliated with multiple companies and lnay have discoverable infonnation

     about waste streams delivered to the Site and/or Site operations: Sandy Adams f/k/a Sandy

     Leedy; Steve Himelrick; Jack Roderick; and Michael Wildman. The last known contact

     information in Plaintiff's possession for these individuals is as follows:

                         Steve Himelrick
                         2762 Hickson Rd.
                         Chillicothe, OH 45601

                        Sandy Adams f/k/a Sandy Leedy
                        2346 Walnut Creek Rd.
                        Chillicothe, OH 45601

                        Jack Roderick
                        135 N. High St.
                        Jackson, OH 45640

                        Michael Wildman
                        110 Florence Ave.
                        Jackson, OH 45640

            36.     The following individual may have discoverable information about waste streams

     delivered to the Site and/or Site operations: Agnes Martin. The last known contact information in

     Plaintiff's possession for this individual is as follows:

                        Agnes Martin
                        18065 S.R. 93
                        Jackson, OH 45640




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            Rule 26(a)(1)(A)(ii): Acopy oj~ a descYiption by category and location of all
            documents, electronically stored information, and tangible things that the disclosing
            party has in its possession, custody, or coyztj~ol and nay zcse to szcppo~~t its claims o~
            defenses, uj7less the use would be solely for impeach»Zent.

            Plaintiff refers Defendants to the documents being disclosed with these Rule 26(a)

     Disclosures, which are Bates-labeled with a "GY" designation and can be viewed and

     downloaded at the following Dropbox link:

     https://www.dro~box.corn/sh/631o'tt tn9y2g3z0/AAC4XiRTeI-C19cUL-OvdQHFa?d1=0

            Plaintiff also refers Defendants to Exhibit A enclosed with these Rule 26(a) Disclosures,

     which is a detailed index of the documents Plaintiff is disclosing with these Rule 26(a)

     Disclosures. Certain administrative records are included with these Initial Disclosures; however,

     some or all administrative records included with these Initial Disclosures are publicly and

     equally available to all parties at the following public information locations:

                        Jackson City Library
                        21 Broadway St.
                        Jackson, OH 45 640

                        Or

                        Ohio EPA
                        Southeast District Office
                        2195 Front St.
                        Logan, OH 4313 8

            Plaintiff will continue to identify documents as discovery proceeds and these Disclosures

     will be supplemented accordingly.




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              Rzcle 26(a)(1)(A)(iii): acomputation of each cutego~y of damages cl~rijned by tl7e
              disclosing party who must also make available fog inspection and copying as
              unde~~ Rule 34 the documents o~ other evidentiary material, unless p~~ivile~ed ol~
              protectedfrom disclosure, on which each computation is based, ijzcluding
              materials bea~~ing on the nature and extent of injuries su~fe~~ed.

              Exhibit B to these Rule 26(a) Disclosures is a chart of response costs (damages) incurred

     by Plaintiff through the date of these Disclosures. This chart contains references to the Bates

     numbers of response cost invoices that can be viewed and downloaded at the following Dropbox

     link:

     https://www.dropbox.com/sh/631o't~ tn9y2g3z0/AAC4XiRTeI-C19cUL-OvdQHFa?d1=0

             In addition, pursuant to CERCLA Section 107(a), 42 U.S.C. § 9607(a), Plaintiff is entitled

     to recover pre judgment interest on Defendant's respective equitable shares of response costs.

     For past response costs, pre judgment interest accrues from the earliest of the date each

     respective Defendant received a demand letter from Plaintiff or received notice of this lawsuit.

     Pre judgment interest on future costs accrues from the date of expenditure. Interest rates are

     variable. The applicable rate is the same as specified for interest on investments of the Hazardous

     Substance Superfund, which is determined by the Department of the Treasury.

             Plaintiff will continue to incur response costs (damages) at the Site and these Disclosures

     will be supplemented accordingly.

             Rule 26(a)(1)(A)(iv): fog inspection and copying as under Rzcle 34, Cx11~> ZI1SZl1^cr~7ce
             agreement zcnde~ which an insurance business may be liable to satisfy all oJ~ puj~t
             of a possible jzrdgment in the action or~ to indemnify o~ l~ein~bzc~se foj~ pay~rients
             made to satisfy the judgment.

             Not applicable.




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                                      Rule 26(a)(2) Expert Disclosures

            Rule 26(a)(2)(A):. . . the identity of any witless [a paj~tyJ may use at trial to
            present evidence under Fede~~al Rule of Evidel7ce 702, 703, ol~ 705.

             Plaintiff may use Dr. Kirk W. Brown as an expert witness to testify on the nature and

     content of the waste streams attributable to Defendants at the Jackson County Landfill Site.

     Additionally, Plaintiff may use Mr. Matthew Low as an expert witness to testify on the proper

     allocation of each party's equitable share of liability.

            Rule 26(a)(2)(B): . . . this disclosure must be accompa~~ied by a written repot
            prepared and signed by the witness if the witness is one retained or specially
            employed to provide expert testimony in the case or one whose duties as the
            party's employee regularly involve giving expe~~t testimony. The report must
            include:

            (i) a complete statement of all opinions the witness will express and the basis and
            reasons for them;

            (ii) the facts or data considered by the witness in forming them;

            (iii) any exhibits that will be used to sujnr~~a~~ize oj~ szcppoj~t then;

            (iv) the witness's qualifications, including a list of ull pzcblicatio~~s authored in the
            previous 10 yeas;

            (v) a list of all other cases in which, dzc~~ing the pj^evious 4 yea~~s, the witness
            testified as an expert at trial o~ by depositio~~; uj~d

            (vi) a statement of the compensation to be paidfog^ the study and testimony in the
            case.

            Regarding Dr. Kirk W. Brown, Plaintiff discloses the following reports containing the

     statement of opinions, facts or data considered, exhibits, witness qualifications, and past expert

     testimony, which have been previously disclosed to Defendants when Plaintiff filed them as

     Exhibits to Plaintiff's Motions for Partial Summary Judgment against each Defendant:

            Affidavit of Dr. Kirk W. Brown in Opposition to Defendant ConAgra Foods, Inc., Bates-
            labeled Nos. GY0000239—GY0000321, also fled with Dkt. No. 71;

            Affidavit of Dr. Kirk W. Brown in Opposition to Defendant General Mills, Inc., Bates-
            labeled Nos. GY0000156—GY0000238, also filed with Dkt. No. 70;

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             Affidavit of Dr. Kirk W. Brown in Opposition to Defendant Inland Products, Inc., Bates-
             labeled Nos. GY0000322—GY0000398, also filed with Dkt. No. 69;

             Affidavit of Dr. Kirk W. Brown in Opposition to Defendant Lancaster Glass Corporation,
             Bates-labeled Nos. GY0000798—GY0000875, also filed with Dkt. No. 68;

             Affidavit of Dr. Kirk W. Brown in Opposition to Defendant Masco Cabinetry LLC
             Bates-labeled Nos. GY0000399—GY0000476, also filed with Dkt. No. 67;

             Affidavit of Dr. Kirk W. Brown in Opposition to Defendant National Oilwell Varco, Inc.,
             Bates-labeled Nos. GY0000477—GY0000554, also filed with Dkt. No. 66;

             Affidavit of Dr. Kirk W. Brown in Opposition to Defendant OSLO Industries, Inc.,
             Bates-labeled Nos. GY0000555—GY0000631, also filed with Dkt. No. 65;

            Affidavit of Dr. Kirk W. Brown in Opposition to Defendant R.J. Reynolds Tobacco
            Holdings, Inc., Bates-labeled Nos. GY0000715—GY0000797, also filed with Dkt. No. 64;

     Additionally, as a statement of compensation, Plaintiff discloses Plaintiff's Retention Agreement

     with Dr. Kirk W. Brown, Bates-labeled Nos. GY0001877—GY0001883, and two paid invoices,

     Bates-labeled Nos. GY6001200, GY6001201. All of the above-referenced documents are

     indexed on the attached Exhibit A and included in the Dropbox link referenced above.

            Regarding Mr. Matthew Low, Plaintiff discloses the following report containing the

     statement of opinions, facts or data considered, and exhibits, which were previously disclosed to

     each Defendant with pre-litigation settlement offers:

            Jackson County Landfill Site Allocation Report, Bates-labeled Nos. GY0002258—
            GY0002271

            Attachment 2 —Allocation Percentage Calculations, Bates-labeled Nos. GY0000004—
            GY0000005

     Additionally, Plaintiff discloses the following document containing Mr. Low's witness

     qualifications and past expel-t testimony:

            Matt Low Resume and List of Cases, Bates-labeled Nos. GY0002230—GY0002252.
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     Additionally, as a statement of compensation, Plaintiff discloses Plaintiff's Retention Agreement

     with Matthew Low, Bates-labeled Nos. GY0002253—GY0002257, and one paid invoice, Bates-

     labeled No. GY6001234.

            All of the above-referenced documents are indexed on the attached Exhibit A and

     included in the Dropbox link referenced above.




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            Plaintiff reserves its right to supplement these Disclosures as inforination and documents

     become available.

     Dated: June 22, 2021                        Respectfully submitted,




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                                          CERTIFICATE OF SERVICE

             I hereby certify that on June 22nd, 2021, a copy of the foregoing Plaintiff's Rule 26(a)

      Initial Disclosures, with Exhibits A and B, and Plaintiff's Rule 26(a)(2)(B) Expert Disclosures

      were transmitted via electronic mail to the following counsel for Defendants:

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